Response of the Justices of the Supreme Court to question propounded by the House of Representatives, under section 10290 of the Code of 1923.
Question answered.
                            House Resolution.
H. R. 52.                                 By Mr. Barber.
Whereas, there is a question in the minds of members of the House of Representatives of the State of Alabama as to whether the following officeholders of Jefferson county, Alabama, are county officers within the meaning of the Second Amendment to the Constitution of Alabama, 1901, such office holders being as follows:
1. Sheriff. 2. Probate Judge. 3. Tax Assessor. 4. Tax Collector. 5. Treasurer. 6. Clerk of Circuit Court. 7. Register in Chancery. 8. Circuit Judges. 9. Solicitor. 10. Municipal and Inferior Court Judges.
And, whereas, the House of Representatives of the State of Alabama desires to obtain from the Justices of the Supreme Court, or a majority thereof, a written opinion on this important constitutional question.
Wherefore, be it resolved by the House of Representatives of the State of Alabama, that the Justices of the Supreme Court of Alabama, or a majority thereof, render to said House of Representatives a written opinion on said question hereinabove set out.
                        Response of the Justices.
To the House of Representatives.
Replying to Resolution 52, inquiring if the officeholders there mentioned are county *Page 360 
officers within the meaning of Amendment 2 to the Constitution of 1901, will say: While they all hold office under the state, all except the circuit judges and solicitors are, strictly speaking, county officers as included in and dealt with in said amendment. The circuit judges and solicitors are what might be termed circuit or state officers. State ex rel. Montgomery v. Merrill, 218 Ala. 149, 117 So. 473.
                                   JOHN C. ANDERSON, Chief Justice.
                                   LUCIEN D. GARDNER, WILLIAM H. THOMAS, A. B. FOSTER, Justices.